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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

BERNARDUS HENRICUS
FUNNEKOTTER, HERMANNES VAN
DUREN, JR., MARGARETA VAN DUREN,
DICKY ROELANDA BREYTENBACH,
ROMELIA GWENDOLYN FISHER, MAX 09 Civ. 8168 (CM)
WILLEM ARTHUR GRAAF VAN
RECHTEREN LIMPURG, ROLF JAN
PHILIP WALRAVEN, WESSEL JOHANNES
WELLER, LOEKIE WELLER, JOHAN
PIETER WELLER, LION HELLMUT

BENJAMINS, CAREL FREDERIK DES
TOMBE, ERICA HANSEN, AFFIDAVIT OF SERVICE

Petitioners,
-against-
REPUBLIC OF ZIMBABWE,

Respondent.

 

BERNARDUS HENRICUS FUNNEKOTTER
et al., 13 Civ. 1917 (CM)

Plaintiffs,
-against-

AGRICULTURAL DEVELOPMENT BANK
OF ZIMBABWE, MINERALS MARKETING
CORPORATION OF ZIMBABWE, ZB
BANK LIMITED, ZIMBABWE MINING
DEVELOPMENT CORPORATION, ZIMRE
HOLDINGS LIMITED and REPUBLIC OF
ZIMBABWE,

 

Defendants.

 

STATE OF NEW YORK )
) ss.
COUNTY OF NEW YORK )
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Matthew Lyden, being duly sworn, deposes and says:

1. I am over the age of 18 years and am not a party to this action. My
business address is Miller & Wrubel P.C., 570 Lexington Avenue, 25" Floor, New York,
New York 10022.

2. On February 1, 2016, I served by First Class Mail true and correct
copies of: (1) Notice of Motion for Writs of Execution Pursuant to Fed. R. Civ. P. 69(a)
and 28 U.S.C. § 1610, dated February 1, 2016, together with the Proposed Order annexed
thereto; (11) Memorandum of Law in Support of Motion for Writs of Execution Pursuant
to Fed. R. Civ. P. 69(a) and 28 U.S.C. § 1610, dated February 1, 2016; (iii) Declaration of
Charles R. Jacob III, dated February 1, 2016, together with Exhibits 1-3 and the publicly
filed cover page for Exhibit 4, which Exhibit was filed under seal and contained
information subject to confidentiality orders in the above-referenced actions; and (iv) the
letter of Charles R. Jacob HI to Hon. Colleen McMahon, dated February 1, 2016, on:

Richard A. Roberts, Esq.

200 East Post Road

White Plains, NY 10601
Counsel for the Non-ZB Bank Defendants

by depositing true and correct copies of same properly wrapped in an envelope, in a
receptacle maintained for that purpose by the United States Postal Service at the corner of

50" Street and Third Avenue, New York, New York.

3. On February 1, 2016, I served by First Class Mail true and correct
copies of the foregoing documents on:

Edward P. Gilbert, Esq.

Morrison Cohen LLP

909 Third Avenue

New York, NY 10022

Counsel for defendant ZB Bank Limited
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by depositing true and correct copies of same properly wrapped in an envelope, in a
receptacle maintained for that purpose by the United States Postal Service at the corner of
50" Street and Third Avenue, New York, New York.

4, On February 1, 2016, I served by Airmail true and correct copies
of the foregoing documents on:

Republic of Zimbabwe

c/o S. S. Mumbengegwi

Minister of Foreign Affairs

Ministry of Foreign Affairs

Munhumutapa Building, Samora Machel Ave

P.O. Box 4240

Harare, Zimbabwe
by depositing true and correct copies of same properly wrapped in an envelope, in a
receptacle maintained for that purpose by the United States Postal Service at the corner of
50" Street and Third Avenue, New York, New York.

5. On February 1, 2016, I served by Federal Express true and correct
copies of the foregoing documents on:

Priya Aiyar, Esq.

Acting General Counsel

United States Treasury

1500 Pennsylvania Avenue, NW

Washington D.C. 20220
by delivering true and correct copies of the same properly wrapped in an envelope to a
branch of Federal Express located at 641 Lexington Avenue, New York, New York.

6. On February 1, 2016, I served by Federal Express true and correct

copies of the foregoing documents on:
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Office of Foreign Assets Control
U.S. Department of the Treasury
Treasury Annex

1500 Pennsylvania Avenue, NW
Washington, DC 20220

Attn: Licensing Division

by delivering true and correct copies of the same properly wrapped in an envelope to a

branch of Federal Express located at 641 Lexington Avenue, New York, New York.

[nave (~—

Matthew Lyden

Sworn to before me this
Zrol day of February 2016

 

MAUREEN GATEAGHER
Notary Public, Siate of New York
_No. 01GA4706185
Qualified in New York County
Commission Expires September 30, 2
